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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION


   JOHN DOE and JANE DOE

                      Plaintiffs,

   v.                                                      Case No. 3:22-cv-49-NKM-JCH

   JOSHUA MAST, et al.,

                      Defendants.


   PLAINTIFFS’ OPPOSITION TO DEFENDANTS JOSHUA AND STEPHANIE MAST’S
           MOTION FOR RECONSIDERATION OF SANCTIONS ORDER


        I.       Introduction

              The Court’s November 28, 2023 Order granting Plaintiffs’ motion to compel (ECF No.

  326) (the “Discovery Order”) was clear, setting forth explicit directives that Defendants Joshua

  and Stephanie Mast (“J&S Mast”) were required to follow. But it was not clear enough,

  apparently, for J&S Mast and their counsel because, despite those express directives, they

  decided to disobey it. And they must be held to account. This the Court did in its July 10, 2024

  Memorandum Opinion & Order (ECF No. 445) (the “Sanctions Ruling”). Now, having failed to

  ask the Court to reconsider and modify the Discovery Order before the time for compliance had

  come and gone, J&S Mast ask the Court to forgive and forget. For the reasons set forth below,

  Plaintiffs respectfully ask that the Court decline to do so.

        II.      Argument

              Motions for reconsideration “are disfavored and should be granted sparingly.” Wootten v.

  Virginia, 168 F. Supp. 3d 890, 893 (W.D. Va. 2016) (Moon, J.) (internal quotation marks and
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  citation omitted). “That is because their ‘improper use . . . can waste judicial resources and

  obstruct the efficient administration of justice.’” Id. (quoting United States v. Duke Energy

  Corp., 218 F.R.D. 468, 474 (M.D.N.C. 2003)). They are “not meant to re-litigate issues already

  decided, provide a party the chance to craft new or improved legal positions, highlight

  previously-available facts, or otherwise award a proverbial ‘second bite at the apple’ to a

  dissatisfied litigant.” Rivers v. United States, 6:18-cv-00061, 2021 WL 3282148, at *1 (W.D. Va.

  July 30, 2021) (Hoppe, M.J.) (quoting Wootten, 168 F. Supp. 3d at 893). When “[i]mproperly

  used in this way, motions to reconsider ‘waste judicial resources and obstruct the efficient

  administration of justice.’” Id. (quoting U.S. Gov’t ex rel. Houck v. Folding Carton Admin.

  Comm., 121 F.R.D. 69, 70 (N.D. Ill. 1988)).

         Rather, relief on a motion for reconsideration may be appropriate only “where the movant

  shows the court ‘patently misunderstood a party’ in reaching its decision, there has been ‘a

  controlling or significant change in the law or facts’ since the court issued its order, or ‘the prior

  decision was clearly erroneous and would work manifest injustice’ if allowed to stand.” Rivers,

  2021 WL 3282148, at *1 (citations omitted); see also Above the Belt, Inc. v. Mel Bohannan

  Roofing, Inc., 99 F.R.D. 99, 101 (E.D. Va. 1983). When a “motion reiterates the same . . .

  arguments that the Court has already rejected,” and “does not cite any intervening change in the

  governing law,” or does not “attempt to explain why the Court’s decision could be so patently

  unfair” that “allowing it to stand would work manifest injustice,” it should be denied. Atl. Coast

  Pipeline, LLC v. 10.61 Acres, 3:18-cv-00071, 2020 WL 2046376, *2 (W.D. Va. April 28, 2020)

  (Hoppe, M.J.) (cleaned up).




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              A. J&S Mast’s Contrition Is Not a Basis to Reconsider the Court’s Sanctions
                 Ruling.

          J&S Mast’s motion is precisely the sort of wasteful filing that decades of cases warn

  against. Indeed, it borders on being frivolous and worthy of additional sanctions beyond the

  additional fees that Plaintiffs will seek once the dust settles.

          J&S Mast reiterate the same arguments this Court already rejected, do not cite any

  intervening change in law, and fail to establish that the Court’s decision would work manifest

  injustice. Instead, they express their contrition to the Court, apparently hoping that doing so will

  convince the Court to reverse its ruling. While remorse is appropriate here, it is not a basis to

  reconsider the Sanctions Ruling. Indeed, J&S Mast’s contrition is proof that the Sanctions

  Ruling has served at least part of its purpose.

          The statements of regret in J&S Mast’s reconsideration motion stand in stark contrast to

  the positions they took before the Court found them in violation of the Discovery Order and

  imposed attorney’s fees. See, e.g., ECF No. 340 at 1 (incorrectly asserting that J&S Mast “have

  fully complied with their discovery obligations”); 2 (referring to “perceived deficienc[ies]” in

  their production); 4 (incorrectly asserting that they had produced “substantially all responsive

  documents” by December 28); 5 (arguing that Plaintiffs’ “[c]omplaints about the timeliness of

  discovery production miss the mark”); 5 (incorrectly asserting that J&S Mast had “already

  produced everything there was to produce” (emphasis in original)); 12 (claiming that their

  actions were “reasonable”); 15 (arguing that “there is no need for a sanction for deterrence

  purposes because the Masts fully complied with their discovery obligations”).

          Moreover, the Mast’s contrition is no compensation for the many hours Plaintiffs’

  counsel were required to devote to obtain J&S Mast’s compliance with the Court’s Discovery

  Order. As set forth in their Motion for Attorney’s Fees and Expenses, Plaintiffs’ counsel

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  expended 130 hours to secure the Masts’ compliance with the Court’s unambiguous directives.

  As the Court recognized in its ruling, Plaintiffs made reasonable discovery requests, to which

  J&S Mast “improperly objected” and “failed to produce responsive non-privileged materials that

  they promised to produce,” and then “failed to obey (through their counsel) a federal court order

  directing them to fix these errors within specified timeframes,” which “forc[ed] Plaintiffs’

  counsel ‘to expend [more] time and money trying to move the discovery process along.” ECF

  No. 445 at 36-37 (citation omitted). As the Court recognized, the “Masts’ violations of the

  Discovery Order harmed Plaintiffs’ “‘ability to develop their [federal] case in a just, speedy, and

  inexpensive manner.’” Id. at 43 (quoting Sines v. Kessler, 3:17-cv-00072, 2020 WL 7028710,

  *14 (W.D. Va. Nov. 30, 2020)).

             B. J&S Mast’s Claim That They Tried to Comply with the Court’s Discovery
                Order Should Be Rejected—Again.

         J&S Mast continue to ignore a simple fact. In their repeated pleas that they should not

  face sanctions because they “undertook substantial efforts” to comply with the Court’s Discovery

  Order, Brief in Support of Motion to Reconsider (ECF 457) (“Mot”) at 2. J&S Mast fail to

  acknowledge their obligation to comply with Plaintiffs’ discovery requests before the Court

  issued the Discovery Order. See, e.g., Id. (“Immediately following the Court’s order, the Masts

  and their counsel undertook a substantial effort to make the ordered production and to do so on

  schedule”) (emphasis added); id. at 3 (“While the Masts and their counsel can understand the

  Court’s view that they should have initiated the Touhy review earlier in the 30-day production

  window, . . .”) (emphasis added).

         Plaintiffs served their requests for production on December 22, 2022. ECF No. 230-1.

  J&S Mast had more than a year to collect, review and prepare documents for production,

  including by initiating the Touhy review process. Even if J&S Mast could reasonably have

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  believed that they could avoid engaging in discovery pending a ruling on their motion to dismiss

  (they could not), they could have – and should have – begun the Touhy request process as soon

  as they received Plaintiffs’ discovery requests. Indeed, Department of Defense regulations

  required Joshua Mast to do so. See 32 C.F.R. § 97.9(b)1 (“Personnel who receive a litigation

  request or demand must notify their DoD Component’s chief legal advisor immediately”). Yet,

  Joshua Mast failed even to begin that process until the very day on which the Discovery Order

  required production (December 28, 2023). See Mot. at 3-4 (“On December 28, 2023, counsel

  contacted . . . the Department of Justice . . . to notify [them] of the 2,176 responsive documents

  that needed to be reviewed before production to Plaintiffs”).

          Even if J&S Mast had an excuse for not beginning the collection and review process

  shortly after receiving Plaintiffs’ discovery requests (and they offer no such excuse), surely they

  should not be excused for failing to do so once the Court denied their motion to stay discovery,

  and granted Plaintiffs’ motion to compel. The Court orally did so at the hearing on October 11,

  2023. ECF No. 310, at 14, 25; see also ECF No. 445 at 39 (“[O]n October 11, 2023, I told

  counsel for all parties that I was going to issue an order denying Joshua and Stephanie’s motion

  to stay discovery and granting Plaintiffs’ motion to compel their production of documents”). Yet,

  J&S Mast apparently still did nothing to respond to Plaintiffs’ long-pending discovery requests.

          J&S Mast’s decision to sit on their hands until the Court rendered its Discovery Order

  negates their effort to blame the government for their delay in producing documents. See, e.g.,



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    J&S Mast seek to blame Plaintiffs for J&S Mast’s decision to engage in the Touhy review
  process. See Mot. at 9-10. To the extent any of J&S Mast’s documents required Touhy approval,
  it is not Plaintiffs who are “responsible for it.” Id. at 9. Rather, it is the federal government. See,
  e.g., 32 C.F.R. § 97.9(b); § 725.6. J&S Mast even acknowledge as much elsewhere in their
  motion. Mot. at 12 (“The Department of the Navy’s Touhy regulations . . . required Joshua Mast
  to submit the documents . . . for review prior to release for discovery purposes”).

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  Mot. at 6 (“the vast majority of that delay was attributable to the time it took for the United

  States to conduct its review”). Having engaged in the Touhy process in the state court litigation –

  as J&S Mast readily admit they did – they understood the amount of time the government may

  need to review their Touhy requests. See Mot. at 9-10 (referencing Touhy review required in state

  court proceedings). Had J&S Mast started the process soon after receiving Plaintiffs’ discovery

  requests, they would have been able to meet the Court’s December 28 production deadline.

         J&S Mast also make a bizarre argument about the parties being represented by pro bono

  counsel. See Mot. at 2, 8, 16, 17. But the fact that counsel are proceeding pro bono has nothing

  to do with whether counsel or client violated a Court order.2 Nor does it alter an attorney’s

  obligations to his clients or the Court, see, e.g., Va. R. S. Ct. 6.2, comment 3 (“An appointed

  lawyer has the same obligations to the client as retained counsel”); 7 Bus. & Com. Litig. Fed.

  Cts. § 84:14 (5th ed.) (“The professional duties and responsibilities owed to pro bono clients do

  not differ from all other clients”), or to an award of attorney’s fees, see, e.g., Brinn v. Tidewater

  Transp. Dist. Com’n, 242 F. 3d 227, 234-35 (4th Cir. 2001) (holding that “entities providing pro

  bono representation may receive attorney’s fees where appropriate, even though they did not

  expect payments from the client. . . .”); Kenney v. Palmer-Stuart Oil. Co., 3:17-cv-00053, 2017

  WL 7038412 (W.D. Va. Dec. 15, 2017) (awarding fees to party represented by pro bono

  counsel); Caner v. Autry, 6:14-cv-00004, 2014 WL 2967607 (W.D. Va. July 1, 2014) (same).3




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    Both J&S Mast and Plaintiffs are represented by large national firms with experience in large,
  complex cases involving substantial discovery. J&S Mast’s counsel, McGuireWoods, “serves as
  National Discovery Counsel and provides discovery counseling services to some of the world’s
  largest companies. . . .” https://tinyurl.com/5c7da78x (McGuireWoods Discovery Counsel
  Services).
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   J&S Mast suggest, without offering proof, that they are not financially able to pay an award of
  attorney’s fees. See Mot. at 16-17. Even if that were true, it is irrelevant.

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             Finally, J&S Mast’s motion fails to address various deficiencies the Court identified in

  its Sanctions Ruling. For example, the motion does not explain J&S Mast’s decision to “stand

  on” objections that “no reasonable person could think they” could stand on after “this Court had

  expressly rejected [them] as improper.” ECF No. 445 at 37. Nor does the motion address, much

  less justify, J&S Mast’s “fail[ure] to obey” the Discovery Order “because they did not

  supplement their amended responses and objections to Plaintiffs’ RFPs by December 19, 2023.”

  Id. at 3. And J&S Mast’s motion also ignores their failure to assert objections regarding Touhy or

  state law when they responded to Plaintiffs’ discovery requests.4 See ECF No. 445 at 3 (noting

  that J&S Mast withheld documents “based on untimely objections”); 18 (referring to J&S Mast’s

  “untimely objection”); 22 (same); 25 (referring to “untimely objections”); 41 (“The Masts did

  not object to any of Plaintiffs’ RFPs on grounds that Touhy regulations forbade them to produce

  responsive materials . . . . Nor did they argue that they might be prosecuted for a Class 3

  misdemeanor if they produced” documents from the J&DR proceedings) (cleaned up; citation

  omitted); 42 (referring to “untimely objections”).

      III.      Conclusion

             J&S Mast’s motion is yet another waste of the time and resources of the Court and of

  Plaintiffs. The Court should once again reject J&S Mast’s baseless efforts to avoid sanctions.



  Dated: August 7, 2024                           Respectfully submitted,

                                                  /s/ Maya M. Eckstein
                                                  Maya M. Eckstein (VSB No. 41413)
                                                  Lewis F. Powell III (VSB No. 18266)

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   Rather than justifying their conduct, J&S Mast criticize the Court for failing to address
  objections they had not made. Mot. at 7 (asserting that “the Discovery Order had not specifically
  addressed the issue” of whether state law prevented J&S Mast from producing certain
  documents).

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                                     Michael R. Shebelskie (VSB No. 27459)
                                     Kevin S. Elliker (VSB No. 87498)
                                     HUNTON ANDREWS KURTH LLP
                                     Riverfront Plaza, East Tower
                                     951 E Byrd Street
                                     Richmond, VA 23219
                                     Telephone: (804) 788-8200
                                     Fax: (804) 788-8218
                                     Email: meckstein@HuntonAK.com
                                     Email: lpowell@HuntonAK.com
                                     Email: mshebelskie@HuntonAK.com
                                     Email: kelliker@HuntonAK.com

                                     Sehla Ashai (admitted pro hac vice)
                                     ELBIALLY LAW, PLLC
                                     704 East 15th Street
                                     Suite 204
                                     Plano, TX 75074
                                     Telephone: (312) 659-0154
                                     Email: ashai@elbiallylaw.com

                                     Blair Connelly (admitted pro hac vice)
                                     Zachary Rowen (admitted pro hac vice)
                                     LATHAM & WATKINS LLP
                                     1271 Avenue of the Americas
                                     New York, NY 10029
                                     Telephone: (212) 906-1200
                                     Email: blair.connelly@lw.com
                                     Email: Zachary.rowen@lw.com

                                     Ehson Kashfipour (admitted pro hac vice)
                                     LATHAM & WATKINS LLP
                                     555 Eleventh Street, NW, Suite 1000
                                     Washington, DC 20004-1304
                                     Telephone: (202) 637-2001
                                     Email: damon.porter@lw.com
                                     Email: ehson.kashfipour@lw.com

                                     Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 7th day of August, 2024, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

                                                        By:     /s/ Maya M. Eckstein
                                                                Maya M. Eckstein (VSB # 41413)
                                                                Hunton Andrews Kurth LLP
                                                                Riverfront Plaza, East Tower
                                                                951 East Byrd Street
                                                                Richmond, Virginia 23219-4074
                                                                Telephone: (804) 788-8200
                                                                Facsimile: (804) 788-8218
                                                                meckstein@HuntonAK.com

                                                                Counsel for Plaintiffs




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